Case 2:15-cv-01173-JRG-RSP Document 1 Filed 06/30/15 Page 1 of 11 PageID #: 1




                         IN THE UNITED STATES DISTRICT COURT
                          FOR THE EASTERN DISTRICT OF TEXAS

SYMBOLOGY INNOVATIONS, LLC                      §
                                                §
       Plaintiff,                               §            Case No:
                                                §
vs.                                             §            PATENT CASE
                                                §
                                                §
WELLMARK, INC. d/b/a WELLMARK                   §
BLUE CROSS AND BLUE SHIELD OF                   §
IOWA; WELLMARK OF SOUTH                         §
DAKOTA, INC. d/b/a WELLMARK                     §
BLUE CROSS AND BLUE SHIELD                      §
OF SOUTH DAKOTA; and BLUE CROSS                 §
AND BLUE SHIELD OF TEXAS, INC.                  §
                                                §
       Defendants.                              §


                                         COMPLAINT

       Plaintiff Symbology Innovations, LLC (“Plaintiff” or “Symbology”) files this

Complaint against Wellmark, Inc. d/b/a Wellmark Blue Cross and Blue Shield of Iowa

(“Defendant” or “Wellmark BCBSIA”), Wellmark of South Dakota, Inc. d/b/a Wellmark Blue

Cross and Blue Shield of South Dakota (“Defendant” or “Wellmark BCBSSD”) (collectively,

“Wellmark BCBS”), and Blue Cross and Blue Shield of Texas, Inc. (“Defendant” or

“BCBSTX”) (collectively, “BCBS”) for infringement of United States Patents No. 8,424,752,

No. 8,651,369, and No. 8,936,190 (hereinafter “the ‘752 Patent,” “the ‘369 Patent,” and “the

‘190 Patent”).

                               PARTIES AND JURISDICTION

       1.        This is an action for patent infringement under Title 35 of the United States

Code. Plaintiff is seeking injunctive relief as well as damages.

       2.        Jurisdiction is proper in this Court pursuant to 28 U.S.C. §§ 1331 (Federal


PLAINTIFF’S COMPLAINT AGAINST DEFENDANTS WELLMARK, INC., WELLMARK
OF SOUTH DAKOTA, INC., AND BLUE CROSS AND BLUE SHIELD OF TEXAS, INC.                             |1
Case 2:15-cv-01173-JRG-RSP Document 1 Filed 06/30/15 Page 2 of 11 PageID #: 2




Question) and 1338(a) (Patents) because this is a civil action for patent infringement arising

under the United States patent statutes.

       3.      Plaintiff is a Texas limited liability company with its principal office located at

1400 Preston Road, Suite 400, Plano, Texas 75093.

       4.      On information and belief, Defendant Wellmark BCBSIA is an Iowa

corporation with its principal place of business at 1331 Grand Avenue, Des Moines, IA 50309.

       5.      On information and belief, Defendant Wellmark BCBSSD is a South Dakota

corporation with its principal place of business at 1061 W. Madison, Sioux Falls, SD 57104.

       6.      On information and belief, BCBSTX is a Texas corporation with its principal

place of business at 1001 E. Lookout Drive, Richardson, Texas 75082.

       7.      This Court has personal jurisdiction over Defendants because Defendants have

committed, and continue to commit, acts of infringement in the state of Texas, have conducted

business in the state of Texas, and/or have engaged in continuous and systematic activities in

the state of Texas.

       8.      Upon information and belief, Defendants’ instrumentalities that are alleged

herein to infringe were and continue to be used, imported, offered for sale, and/or sold in the

Eastern District of Texas.

                                            VENUE

       9.      Venue is proper in the Eastern District of Texas pursuant to 28 U.S.C. §§

1391(c) and 1400(b) because Defendants are deemed to reside in this District. In addition, and

in the alternative, Defendants have committed acts of infringement in this District.

                                  COUNT I
             (INFRINGEMENT OF UNITED STATES PATENT NO. 8,424,752)

       10.     Plaintiff incorporates paragraphs 1 through 9 herein by reference.


PLAINTIFF’S COMPLAINT AGAINST DEFENDANTS WELLMARK, INC., WELLMARK
OF SOUTH DAKOTA, INC., AND BLUE CROSS AND BLUE SHIELD OF TEXAS, INC.                                 |2
Case 2:15-cv-01173-JRG-RSP Document 1 Filed 06/30/15 Page 3 of 11 PageID #: 3




       11.     This cause of action arises under the patent laws of the United States and, in

particular, under 35 U.S.C. §§ 271, et seq.

       12.     Plaintiff is the owner by assignment of the ‘752 Patent with sole rights to

enforce the ‘752 Patent and sue infringers.

       13.     A copy of the ‘752 Patent, titled “System and Method for Presenting

Information about an Object on a Portable Electronic Device,” is attached hereto as Exhibit A.

       14.     The ‘752 Patent is valid, enforceable, and was duly issued in full compliance

with Title 35 of the United States Code.

       15.     Upon information and belief, Defendants have infringed and continue to

infringe one or more claims, including at least Claim 1, of the ‘752 Patent by making, using,

and/or printing Quick Response Codes (QR codes) covered by one or more claims of the ‘752

Patent. On information and belief Defendants have made, used, and/or printed QR codes on

printed and/or electronic media, including advertising and packaging, associated with select

products. Defendants have infringed and continue to infringe the ‘752 Patent either directly or

through acts of contributory infringement or inducement in violation of 35 U.S.C. § 271.

       16.     One specific instance of Defendants Wellmark BCBS’ activity involves the use

of QR Codes in connection with marketing materials for products and services known as the

Blue Zones Project™, and the BlueInk publication.        One specific example of Defendant

BCBSTX’s activity involves the use of QR Codes on marketing materials presented to students

in connection with the AcademicBlue service for college and university student health

insurance plans. A user scanning the QR Code is provided with information concerning these

products and services. Upon being scanned, the QR code remotely transmits information to the

user via a device, such as a smart phone, for example. The use of QR codes in this manner



PLAINTIFF’S COMPLAINT AGAINST DEFENDANTS WELLMARK, INC., WELLMARK
OF SOUTH DAKOTA, INC., AND BLUE CROSS AND BLUE SHIELD OF TEXAS, INC.                              |3
Case 2:15-cv-01173-JRG-RSP Document 1 Filed 06/30/15 Page 4 of 11 PageID #: 4




infringes at least Claim 1 of the ‘752 Patent.

       17.     Defendants’ actions complained of herein will continue unless Defendants are

enjoined by this court.

       18.     Defendants’ actions complained of herein are causing irreparable harm and

monetary damage to Plaintiff and will continue to do so unless and until Defendants are

enjoined and restrained by this Court.

       19.     Plaintiff is in compliance with 35 U.S.C. § 287.

                                 COUNT II
             (INFRINGEMENT OF UNITED STATES PATENT NO. 8,651,369)

       20.     Plaintiff incorporates paragraphs 1 through 19 herein by reference.

       21.     This cause of action arises under the patent laws of the United States and, in

particular, under 35 U.S.C. §§ 271, et seq.

       22.     Plaintiff is the owner by assignment of the ‘369 Patent with sole rights to

enforce the ‘369 Patent and sue infringers.

       23.     A copy of the ‘369 Patent, titled “System and Method for Presenting

Information about an Object on a Portable Electronic Device,” is attached hereto as Exhibit B.

       24.     The ‘369 Patent is valid, enforceable, and was duly issued in full compliance

with Title 35 of the United States Code.

       25.     Upon information and belief, Defendants have infringed and continue to

infringe one or more claims, including at least Claim 1, of the ‘369 Patent by making, using,

and/or printing Quick Response Codes (QR codes) covered by one or more claims of the ‘369

Patent. On information and belief Defendants have made, used, and/or printed QR codes on

printed and/or electronic media, including advertising and packaging, associated with select

products. Defendants have infringed and continue to infringe the ‘369 Patent either directly or


PLAINTIFF’S COMPLAINT AGAINST DEFENDANTS WELLMARK, INC., WELLMARK
OF SOUTH DAKOTA, INC., AND BLUE CROSS AND BLUE SHIELD OF TEXAS, INC.                              |4
Case 2:15-cv-01173-JRG-RSP Document 1 Filed 06/30/15 Page 5 of 11 PageID #: 5




through acts of contributory infringement or inducement in violation of 35 U.S.C. § 271.

       26.     One specific instance of Defendants Wellmark BCBS’ activity involves the use

of QR Codes in connection with marketing materials for products and services known as the

Blue Zones Project™, and the BlueInk publication.        One specific example of Defendant

BCBSTX’s activity involves the use of QR Codes on marketing materials presented to students

in connection with the AcademicBlue service for college and university student health

insurance plans. A user scanning the QR Code is provided with information concerning these

products and services. Upon being scanned, the QR code remotely transmits information to the

user via a device, such as a smart phone, for example. The use of QR codes in this manner

infringes at least Claim 1 of the ‘369 Patent.

       27.     Defendants’ actions complained of herein will continue unless Defendants are

enjoined by this court.

       28.     Defendants’ actions complained of herein are causing irreparable harm and

monetary damage to Plaintiff and will continue to do so unless and until Defendants are

enjoined and restrained by this Court.

       29.     Plaintiff is in compliance with 35 U.S.C. § 287.

                                 COUNT III
             (INFRINGEMENT OF UNITED STATES PATENT NO. 8,936,190)

       30.     Plaintiff incorporates paragraphs 1 through 29 herein by reference.

       31.     This cause of action arises under the patent laws of the United States and, in

particular, under 35 U.S.C. §§ 271, et seq.

       32.     Plaintiff is the owner by assignment of the ‘190 Patent with sole rights to

enforce the ‘190 patent and sue infringers.

       33.     A copy of the ‘190 Patent, titled “System and Method for Presenting


PLAINTIFF’S COMPLAINT AGAINST DEFENDANTS WELLMARK, INC., WELLMARK
OF SOUTH DAKOTA, INC., AND BLUE CROSS AND BLUE SHIELD OF TEXAS, INC.                            |5
Case 2:15-cv-01173-JRG-RSP Document 1 Filed 06/30/15 Page 6 of 11 PageID #: 6




Information about an Object on a Portable Electronic Device,” is attached hereto as Exhibit C.

       34.     The ‘190 Patent is valid, enforceable, and was duly issued in full compliance

with Title 35 of the United States Code.

       35.     Upon information and belief, Defendants have infringed and continue to

infringe one or more claims, including at least Claim 1, of the ‘190 Patent by making, using,

and/or printing Quick Response Codes (QR codes) covered by one or more claims of the ‘190

Patent. On information and belief Defendants have made, used, and/or printed QR codes on

printed and/or electronic media, including advertising and packaging, associated with select

products. Defendants have infringed and continue to infringe the ‘190 Patent either directly or

through acts of contributory infringement or inducement in violation of 35 U.S.C. § 271.

       36.     One specific instance of Defendants Wellmark BCBS’ activity involves the use

of QR Codes in connection with marketing materials for products and services known as the

Blue Zones Project™, and the BlueInk publication.        One specific example of Defendant

BCBSTX’s activity involves the use of QR Codes on marketing materials presented to students

in connection with the AcademicBlue service for college and university student health

insurance plans. A user scanning the QR Code is provided with information concerning these

products and services. Upon being scanned, the QR code remotely transmits information to the

user via a device, such as a smart phone, for example. The use of QR codes in this manner

infringes at least Claim 1 of the ‘190 Patent.

       37.     Defendants’ actions complained of herein will continue unless Defendants are

enjoined by this court.

       38.     Defendants’ actions complained of herein are causing irreparable harm and

monetary damage to Plaintiff and will continue to do so unless and until Defendants are



PLAINTIFF’S COMPLAINT AGAINST DEFENDANTS WELLMARK, INC., WELLMARK
OF SOUTH DAKOTA, INC., AND BLUE CROSS AND BLUE SHIELD OF TEXAS, INC.                              |6
Case 2:15-cv-01173-JRG-RSP Document 1 Filed 06/30/15 Page 7 of 11 PageID #: 7




enjoined and restrained by this Court.

          39.   Plaintiff is in compliance with 35 U.S.C. § 287.

                                   PRAYER FOR RELIEF

          WHEREFORE, Plaintiff asks the Court to:

          (a)   Enter judgment for Plaintiff on this Complaint on all causes of action asserted

herein;

          (b)   Enter an Order enjoining Defendants, their agents, officers, servants,

employees, attorneys, and all persons in active concert or participation with Defendants who

receive notice of the order from further infringement of United States Patents No. 8,424,752,

No. 8,651,369, and No. 8,936,190 (or, in the alternative, awarding Plaintiff running royalties

from the time of judgment going forward);

          (c)   Award Plaintiff damages resulting from Defendants’ infringement in

accordance with 35 U.S.C. § 284;

          (d)   Award Plaintiff pre-judgment and post-judgment interest and costs; and

          (e)   Award Plaintiff such further relief to which the Court finds Plaintiff entitled

under law or equity.




PLAINTIFF’S COMPLAINT AGAINST DEFENDANTS WELLMARK, INC., WELLMARK
OF SOUTH DAKOTA, INC., AND BLUE CROSS AND BLUE SHIELD OF TEXAS, INC.                              |7
Case 2:15-cv-01173-JRG-RSP Document 1 Filed 06/30/15 Page 8 of 11 PageID #: 8




Dated: June 30, 2015

                                   Respectfully submitted,



                                       /s/ Jay Johnson
                                   JAY JOHNSON
                                   State Bar No. 24067322
                                   D. BRADLEY KIZZIA
                                   State Bar No. 11547550
                                   ANTHONY RICCIARDELLI
                                   State Bar No. 24070493
                                   KIZZIA & JOHNSON PLLC
                                   750 N. St. Paul Street, Suite 1320
                                   Dallas, Texas 75201
                                   (214) 613-3350
                                   Fax: (214) 613-3330
                                   jay@brownfoxlaw.com
                                   brad@brownfoxlaw.com
                                   anthony@brownfoxlaw.com
                                   ATTORNEYS FOR PLAINTIFF




PLAINTIFF’S COMPLAINT AGAINST DEFENDANTS WELLMARK, INC., WELLMARK
OF SOUTH DAKOTA, INC., AND BLUE CROSS AND BLUE SHIELD OF TEXAS, INC.            |8
Case 2:15-cv-01173-JRG-RSP Document 1 Filed 06/30/15 Page 9 of 11 PageID #: 9




                              EXHIBIT A
Case 2:15-cv-01173-JRG-RSP Document 1 Filed 06/30/15 Page 10 of 11 PageID #: 10




                               EXHIBIT B
Case 2:15-cv-01173-JRG-RSP Document 1 Filed 06/30/15 Page 11 of 11 PageID #: 11




                               EXHIBIT C
